                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2022-NCCOA-216

                                        No. COA19-282

                                       Filed 5 April 2022

     Caldwell County, No. 15 CRS 052216

     STATE OF NORTH CAROLINA

                   v.

     GEORGE WILLIAM SHEFFIELD, Defendant.


           Appeal by Defendant from judgment entered 23 April 2018 by Judge Joseph

     N. Crosswhite in Caldwell County Superior Court. Heard in the Court of Appeals 11

     March 2020.


           Attorney General Joshua H. Stein, by Special Deputy Attorney General Joseph
           Finarelli, for the State.

           Appellate Defender Glenn Gerding, by Assistant Appellate Defender Amanda S.
           Zimmer, for defendant-appellant.


           MURPHY, Judge.


¶1         A trial court errs where it admits evidence that does not have any tendency to

     make any fact of consequence more or less likely. However, where that error does not

     have a probable impact on the jury’s finding that a defendant was guilty, the error

     does not rise to plain error and does not entitle a defendant to relief. Here, the trial

     court’s admission of relevant photographs of condoms was proper. Additionally, the

     trial court’s improper admission of irrelevant photographs of dildos did not rise to
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     plain error.

¶2          A satellite-based monitoring (“SBM”) order requiring automatic lifetime SBM

     that is mistakenly based on a crime the defendant did not commit is entered in error.

     Where that order is entered due to the mutual mistake of the State, the defendant,

     and the trial court, the proper remedy is to vacate without prejudice to the filing of a

     subsequent SBM application.      Here, the trial court erred by entering automatic

     lifetime SBM based on the parties’ and the trial court’s mistaken belief that

     Defendant was guilty of a qualifying offense. As a result, we vacate the SBM order

     without prejudice to the State’s ability to refile an SBM application.

¶3         When the State has sensitive documents that are alleged to be favorable and

     material to a defendant, the documents must be turned over to the defendant if, after

     an in camera review, the trial court finds the documents to be favorable and material.

     Where some of these documents are not turned over to the defendant, on appeal, we

     must review the documents to determine if the trial court erred by not providing any

     documents to the defendant that were both favorable and material. Here, after

     reviewing documents that the trial reviewed in camera, we conclude that there were

     favorable, but not material, documents that were not provided to Defendant.

     Defendant is not entitled a new trial.

                                       BACKGROUND
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¶4          Defendant George William Sheffield lived next to Peter’s1 mother’s boyfriend.

     When Peter’s mother would visit her boyfriend, she would bring her children, and

     they would often see Defendant. Defendant would let Peter’s family use his washer

     and dryer, let the children mow his lawn, and would occasionally make meals for

     Peter’s family. On 23 July 2015, when Peter was twelve years old, Peter mowed

     Defendant’s lawn. After mowing the lawn, Peter showered at Defendant’s home, and

     Defendant washed Peter’s dirty clothes.             Then, Peter’s family all had dinner at

     Defendant’s home. After dinner, Peter and his younger brother sat on the couch and

     watched television at Defendant’s home while the rest of the family left the home.

¶5          While Peter was watching television, Defendant tapped him on the shoulder

     and took Peter to Defendant’s computer where a pornography website was open.

     After showing Peter the website, Defendant “whipped out his penis and started

     messing with it” and began talking to Peter about the pornography, including

     “ask[ing] if [Peter] ever did this and [if Peter had] ever seen anything like this.” Peter

     testified:

                   [a]fter [Defendant] started messing with his penis, I
                   started sliding over to get away and he pulled the chair
                   closer and started messing with his penis even more and
                   watching more of those videos, more of them.



            1 Pseudonyms are used for all relevant persons throughout this opinion to protect the

     identity of the juvenile and for ease of reading.
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                   So I got tired of that and I tried to leave and that’s when he
                   grabbed me, let me get on my knees, and started sucking
                   his penis.[2] And then I tried to move away. And then he
                   started sucking my penis and that’s when he pulled me into
                   the bathroom.

                   I was about to leave because my mother it was time for me
                   to leave and go get ready for bed [sic]. And I went to go
                   leave and that’s when he pulled me into the bathroom
                   before I left and grabbed the baby oil and tried to stick his
                   penis in my butt.

     At this point, Peter got up, left Defendant’s home, and went to his mother’s

     boyfriend’s home where he almost immediately told his mother what Defendant had

     done.

¶6           Peter’s mother took him to the Lenoir Police Department, where they met

     Officer Charles Barlow, and an ambulance took them to a nearby hospital where

     Peter’s clothes were collected into evidence. Peter was then taken to another hospital

     to have a sexual assault examination and a forensic interview. During the forensic

     interview, Peter stated that there was a prior incident where Defendant showed Peter

     a glass duck that contained 10-20 square packets of an unfamiliar item, that Peter

     thought might contain a pill or gum, and that, prior to showing him these items,

     Defendant winked at Peter and told him not to tell the little kids. The State argued




             2 When asked “How did it come to be that you had his penis in your mouth?” Peter

     clarified that “[Defendant] pulled [him] to it.” Peter also clarified that “[Defendant] sucked
     [his] penis” after Defendant had “pulled [Peter’s] pants down.”
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     that these packets were condoms in its closing argument.

¶7         Although there was no evidence of physical injury, Carolyn Abbott, a forensic

     nurse examiner, testified that this was not unusual with the actions alleged. An

     employee from the North Carolina State Crime Laboratory testified that a sample of

     Peter’s underwear had DNA on it, and, in response to the State asking for “the

     statistical odds in regard to [the DNA] belonging to someone other than [Peter] and

     [Defendant,]” the employee stated, “the chance of randomly selecting an unrelated

     individual who also could not be excluded from that multiple major that was obtained

     from the cutting of the underwear would be, approximately, in [the] North Carolina

     Caucasian population, 1 in 13.9 million[.]”3

¶8         Additionally, the State admitted three photographs of a dresser drawer in

     Defendant’s bedroom without objection; one of these photographs depicted a drawer

     containing a condom and two dildos, and the other two depicted a Ziploc bag of

     condoms, one of which showed a dildo in the background. There was no suggestion

     at trial that the dildos were involved in any way with what happened to Peter, and

     the State made no comments regarding the dildos aside from when the State initially

     admitted the photograph portraying them into evidence.

¶9         Furthermore, prior to trial, Defendant attempted to gain access to the




           3 The judgment indicates that Defendant’s race is “W” indicating white, or Caucasian.
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       personnel file of Officer Barlow, as well as the school and DSS files related to Peter.

       All of these documents were reviewed by the trial court in camera. The trial court

       released some of each type of these documents to Defendant and sealed the remaining

       documents.

¶ 10          Based on the events described above, the jury found Defendant guilty of first-

       degree sex offense with a child under N.C.G.S. § 14-27.4(a)(1),4 and the trial court

       sentenced Defendant to 240 to 348 months. After sentencing Defendant, the trial

       court ordered Defendant to register as a sex offender for thirty years and to enroll in

       SBM for life upon his release from imprisonment. Underlying the imposition of

       lifetime SBM enrollment, the trial court found that Defendant had committed rape

       of a child under N.C.G.S. § 14-27.23 or sexual offense with a child under N.C.G.S. §

       14-27.28.5 The trial court also found that Defendant was convicted of an offense

       involving “the physical, mental, or sexual abuse of a minor.” However, the trial court

       did not find Defendant to be a sexually violent predator, a recidivist, or to have been

       convicted of an aggravated offense. Defendant timely appeals.

                                              ANALYSIS



              4 N.C.G.S. § 14-27.4(a)(1) was recodified as N.C.G.S. § 14-27.29 effective 1 December

       2015. As the date of the offense was 23 July 2015, we use the then-existing version of the
       statute, N.C.G.S. § 14-27.4(a)(1), which was effective from 1 October 1994 until 30 November
       2015.
              5 At the time of the offense, these statutes were codified as N.C.G.S. § 14-27.2A and

       N.C.G.S. § 14-27.4A, respectively.
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¶ 11          On appeal, Defendant argues (A) “the trial court plainly erred in admitting

       irrelevant, color photos showing ‘two dildos’ and condoms taken in [Defendant’s]

       bedroom when these items were unrelated to the alleged offense and found in a

       separate room[;]” (B) “the trial court erred in determining that [Defendant] qualified

       for mandatory lifetime [SBM] because his conviction under N.C.G.S. § 14-27.4(a)(1)

       did not require lifetime monitoring[;]” and (C) “this Court should grant a new trial if,

       upon in camera review of the sealed records, it determines the information is

       favorable and material to [Defendant’s] guilt or punishment.”6

                   A. Admission of the Photographs of Condoms and Dildos

¶ 12          Our Supreme Court has held:

                     [T]he North Carolina plain error standard of review applies
                     only when the alleged error is unpreserved, and it requires
                     the defendant to bear the heavier burden of showing that
                     the error rises to the level of plain error. To have an alleged
                     error reviewed under the plain error standard, the
                     defendant must specifically and distinctly contend that the
                     alleged error constitutes plain error. Furthermore, plain
                     error review in North Carolina is normally limited to
                     instructional and evidentiary error.

       State v. Lawrence, 365 N.C. 506, 516, 723 S.E.2d 326, 333 (2012) (marks and citations

       omitted).



              6 Defendant also argues “Defense Counsel failed to provide effective assistance of
       counsel during [Defendant’s] SBM hearing when he failed to subject the prosecution’s case to
       meaningful adversarial testing.” However, as discussed below, this issue is mooted by our
       resolution of his earlier SBM argument.
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                    For error to constitute plain error, a defendant must
                    demonstrate that a fundamental error occurred at trial. To
                    show that an error was fundamental, a defendant must
                    establish prejudice—that, after examination of the entire
                    record, the error had a probable impact on the jury’s
                    finding that the defendant was guilty. Moreover, because
                    plain error is to be applied cautiously and only in the
                    exceptional case, the error will often be one that seriously
                    affects the fairness, integrity or public reputation of
                    judicial proceedings.

       Id. at 518, 723 S.E.2d at 334 (marks and citations omitted).

¶ 13         Defendant argues that the trial court plainly erred in admitting State’s

       Exhibits P-21, P-22, and P-23, which were pictures showing condoms and dildos found

       in Defendant’s bedroom, because they were irrelevant to the alleged incident,

       constituted prohibited evidence under Rule 404(b), and had a probable impact on the

       jury. The State contends this evidence was properly admitted under our Rules of

       Evidence, but also argues Rule 404(b) does not apply because “the challenged exhibits

       were not evidence of ‘other’ acts” and “mere possession of items that are lawful to

       possess is not character evidence.”

¶ 14         The State relies on State v. Sessoms, in which we have held “wielding a

       machete is not a character trait” and therefore “was not ‘character evidence’ pursuant

       to . . . Rule 404(b), but rather [a witness’s] description of what he saw and his reason

       for calling for help[.]” State v. Sessoms, 226 N.C. App. 381, 385, 741 S.E.2d 449, 453
       (2013). However, in Sessoms, we did not hold that possession of an item can never
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       fall under Rule 404(b). Id. Indeed, we have consistently addressed the possession of

       items under Rule 404(b) in the exact context of the issue here—a defendant’s

       possession of materials related to sex in a child sexual assault case. See, e.g., State v.

       Smith, 152 N.C. App. 514, 523, 568 S.E.2d 289, 295, disc. rev. denied, appeal

       dismissed, 356 N.C. 623, 575 S.E.2d 757 (2002); State v. Hinson, 102 N.C. App. 29,

       36, 401 S.E.2d 371, 375, disc. rev. denied, appeal dismissed, 329 N.C. 273, 407 S.E.2d

       846 (1991); State v. Bush, 164 N.C. App. 254, 261, 595 S.E.2d 715, 719 (2004); State

       v. Rael, 321 N.C. 528, 534, 364 S.E.2d 125, 129 (1988); State v. Brown, 178 N.C. App.

       189, 193, 631 S.E.2d 49, 52 (2006). We address this issue under Rule 401 and Rule

       404(b).

¶ 15         “‘Relevant evidence’ means evidence having any tendency to make the

       existence of any fact that is of consequence to the determination of the action more

       probable or less probable than it would be without the evidence.” N.C.G.S. § 8C-1,

       Rule 401 (2021). “All relevant evidence is admissible, except as otherwise provided

       by the Constitution of the United States, by the Constitution of North Carolina, by

       Act of Congress, by Act of the General Assembly or by these rules. Evidence which is

       not relevant is not admissible.” N.C.G.S. § 8C-1, Rule 402 (2021).

                    Evidence of other . . . acts is not admissible to prove the
                    character of a person in order to show that he acted in
                    conformity therewith. It may, however, be admissible for
                    other purposes, such as proof of motive, opportunity,
                    intent, preparation, plan, knowledge, identity, or absence
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                    of mistake, entrapment or accident.

       N.C.G.S. § 8C-1, Rule 404(b) (2021).

¶ 16         In Smith, we held:

                    evidence of [the] defendant’s possession of pornographic
                    materials, without any evidence that [the] defendant had
                    viewed the pornographic materials with the victim, or any
                    evidence that [the] defendant had asked the victim to look
                    at pornographic materials other than the victim’s mere
                    speculation, was not relevant to proving [the] defendant
                    committed the alleged offenses in the instant case and
                    should not have been admitted by the trial court.

       Smith, 152 N.C. App. at 523, 568 S.E.2d at 295.

¶ 17         There, we relied on State v. Doisey, Hinson, and State v. Maxwell. See State v.

       Doisey, 138 N.C. App. 620, 626, 532 S.E.2d 240, 244, disc. rev. denied, 352 N.C. 678,

       545 S.E.2d 434 (2000), cert. denied, 531 U.S. 1177, 148 L. Ed. 2d 1015 (2001); Hinson,

       102 N.C. App. at 36, 401 S.E.2d at 375; State v. Maxwell, 96 N.C. App. 19, 24, 384

       S.E.2d 553, 556 (1989), disc. rev. denied, 326 N.C. 53, 389 S.E.2d 83 (1990). In Smith,

       we described the holdings of each of these cases. Smith, 152 N.C. App. at 521-22, 568

       S.E.2d at 294. We described Doisey as holding that “evidence that the defendant

       placed a camcorder in a bathroom used by children and taped the activities in the

       bathroom was not properly admitted to show ‘design or scheme to take sexual

       advantage of children.’” Id. We described Hinson as holding that “evidence that the

       defendant possessed photographs depicting himself in women’s clothing, dildos,
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       lubricants, vibrators and two pornographic books, was not properly admitted to show

       ‘proof of intent, preparation, plan, knowledge and absence of mistake,’ in [a] sexual

       offense case involving seven-year-old victim.” Id. at 522, 568 S.E.2d at 294. Finally,

       we described Maxwell as holding that “evidence that the defendant frequently

       appeared nude in front of his children and had fondled himself in presence of

       daughter was not properly admitted to show [the] ‘defendant’s plan or scheme to take

       advantage of his daughter.’” Id.
¶ 18         In Bush, we held that the admission of evidence showing the defendant had

       previously purchased and owned pornography was error because there was no

       evidence to suggest that the defendant had shown, or provided, the pornography to

       the victim. Bush, 164 N.C. App. at 261-62, 595 S.E.2d at 719-20.

                    [T]he mere possession of photographic images, whether in
                    still form or on a videotape, has been deemed inadmissible
                    as the defendant’s possession of such materials does not
                    establish motive, intent, common scheme or plan; rather
                    the possession of such materials is held only to show the
                    defendant has the propensity to commit the offense for
                    which he is charged and to be highly inflammatory.

       Id. at 262, 595 S.E.2d at 720 (citing Smith, 152 N.C. App. at 521-22, 568 S.E.2d at

       294, Doisey, 138 N.C. App. at 628, 532 S.E.2d at 246).

¶ 19         However, “our appellate courts have long recognized that lay testimony and

       other evidence can be admissible under Rule 404(b) to show that a defendant engaged

       in grooming-like behavior.” State v. Goins, 244 N.C. App. 499, 516, 781 S.E.2d 45, 56
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       (2015).   In State v. Williams, in response to an argument that evidence of the

       defendant taking the child victim to see an x-rated movie violated Rule 404(b), our

       Supreme Court upheld the admission of evidence because “the [victim’s] presence at

       the film at [the] defendant’s insistence, and his comments to her show his preparation

       and plan to engage in sexual intercourse with her and assist in that preparation and

       plan by making her aware of such sexual conduct and arousing her.”           State v.

       Williams, 318 N.C. 624, 632, 350 S.E.2d 353, 358 (1986).

¶ 20         In Rael, our Supreme Court, again in response to a challenge to evidence under

       404(b), upheld the admission of evidence of pornographic magazines and video tapes

       because “the video tape and magazines and Detective Martin’s testimony concerning

       them were relevant to corroborate the victim’s testimony that the defendant had

       shown him such materials at the time the defendant committed the crimes for which

       he was on trial[,]” and thus as “relevant [evidence] to a fact or issue other than the

       character of the accused, Rule 404(b) did not require that they be excluded from the

       evidence at trial.” Rael, 321 N.C. at 534, 364 S.E.2d at 129.

¶ 21         In Brown, in response to a challenge under Rule 404(b) to the admission of

       photographs of nude women, we upheld the admission of the photographs because

                    [the] defendant showed [the victim] four photographs of
                    nude adult women with whom she was acquainted prior to
                    the first time [the] defendant engaged in a sexual act with
                    her, and that [the] defendant told her that he was going to
                    take similar pictures of her. [The victim] further testified
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                    that [the] defendant attempted to take pictures of her, but
                    that [the] defendant was unable to get her grandmother’s
                    camera. The admission of the photographs into evidence
                    served to corroborate [the victim’s] testimony of [the]
                    defendant’s actions and provided evidence of a plan and
                    preparation to engage in sexual activities with her.

       Brown, 178 N.C. App. at 193, 631 S.E.2d at 52.

¶ 22         Here, the evidence falls under both aspects of our caselaw. In his forensic

       interview, which was played for the jury, Peter described an incident where

       Defendant showed him a square packet found inside a glass duck, winked at Peter,

       and told Peter there was gum inside of it. Peter didn’t know if it was a pill, gum, or

       something else that “could make ‘em get silly or something.” Although Peter did not

       testify regarding this information, the introduction of the condoms found in

       Defendant’s home, even though they were not in a glass duck, corroborated Peter’s

       statement, as it showed Defendant owned condoms that matched the description of

       the items Peter claims Defendant showed him.             This evidence was relevant to

       corroborate the potential grooming behavior, and was used for the purposes of

       showing planning and preparation by Defendant, as well as to corroborate Peter’s

       testimony. The admission of the photographs of the condoms was not error under

       Rule 401 or Rule 404(b).

¶ 23         However, the admission of State’s Exhibit P-21, which is a photograph of the

       condoms with the dildos, was error under Rule 401 and Rule 404(b). There was no
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       evidence presented that Defendant discussed, showed, or exposed Peter to a dildo. As

       a result, the dildos were entirely irrelevant to any fact of consequence related to

       Defendant’s guilt or innocence.       The State argues State’s Exhibit P-21, the

       photograph depicting the dildos and condoms, showed the context of where the

       condoms were located in Defendant’s home and that, after the evidence was

       introduced, the State never mentioned the dildos at any stage of the trial. The State

       provides no reason as to why the exact location of the condoms was significant when

       it was undisputed that they were found in Defendant’s home, and we are unaware of

       such a reason. Additionally, there were other photographs showing the condoms

       found in the home without the dildos in the background, which would have equally

       corroborated Peter’s statement regarding the square packets. Even if State’s Exhibit

       P-21 was relevant, Rule 404(b) should have resulted in the exclusion of the

       photograph. While in Bush, Smith, and Hinson there was testimony given regarding

       the possession of the material related to sex, it makes no difference whether the

       evidence was admitted by testimony or by a photograph. Here, like in Bush, Smith,

       and Hinson, the jury was presented with evidence unrelated to the offenses alleged

       showing the possession of materials related to sex. This evidence had no relevant

       purpose, and instead, if used, could only be used by the jury as character evidence in

       contravention of Rule 404(b). The trial court erred in admitting this evidence.

¶ 24          However, this error does not rise to the level of plain error as it did not have a
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       probable impact on the jury. Defendant argues the admitted photographs had a

       probable impact on the jury because they paint him as someone who had “prurient

       interests in sexual gratification and [as] a sexual deviant who would be more likely

       to engage in a sex act with a child.” His basis for this argument is “[s]ex toys, such

       as dildos, are often seen as immoral or obscene” and they “allowed the State to imply

       that [Defendant] was bisexual or gay—even though the trial court explicitly barred

       the State from introducing evidence about [Defendant’s] sexuality.”        Assuming,

       arguendo, that Defendant’s contention about dildos is true, he cannot show plain

       error here.

¶ 25         Despite the trial court barring the State from introducing evidence regarding

       Defendant’s sexuality, evidence implying Defendant is bisexual or gay was introduced

       without objection, and was not challenged on appeal:

                     [DETECTIVE:] I told [Defendant] that there were some
                     issues with pornography. I asked him if there was any
                     pornography in the residence. He told me that there was
                     not. He said he only researched pornography online. He
                     said he looked them up on websites called SexTube and
                     GayTube.

                     [THE STATE:] And did he say anything else at that point?

                     [DETECTIVE:] I asked what type of pornography that he
                     watched and he told me bisexual.

       As a result, we do not consider any potential prejudice from the implication

       Defendant is bisexual or gay, as the implication would have been before the jury
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       regardless of any error.

¶ 26         However, this is not the end of our inquiry, as we must also consider

       Defendant’s argument that the erroneous admission of a photograph with dildos in

       the background suggested Defendant was immoral and/or a sexual deviant more

       likely to sexually assault a child.   In weighing the effect of this evidence, it is

       important to note that, aside from laying the foundation for the photographs and

       admitting the photograph into evidence, the only other reference made to the dildos

       was made by Defendant in closing arguments when he stated:

                    You saw some pictures. I think the State is trying to
                    convey that he’s a deviant, but he’s got condoms. He’s a
                    single man. He had two sex toys in a drawer. I don’t know
                    if you saw from the pictures, but there were a few pairs of
                    women’s underwear. Again, it looks bad, but it is not
                    illegal. He is a single man. He admits to looking at porn
                    on his computer. Again, that’s not illegal.

       Our Supreme Court has previously focused on the minimal emphasis of irrelevant

       evidence to conclude there was no prejudicial error. See State v. Rose, 335 N.C. 301,

       322-23, 439 S.E.2d 518, 529-30 (“[The] [d]efendant has failed to show, however, that

       the admission of the Bibles into evidence was prejudicial. In fact, evidence of the

       presence of the Bibles in the victim’s apartment was introduced through photographs

       of the apartment, including one that clearly depicted the Bibles on a bookshelf. [The]

       [d]efendant did not object to the introduction of these photographs. Furthermore,

       [the] defendant himself points out that after the Bibles were admitted they were only
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       mentioned once again during the trial when the victim’s sister testified that she had

       seen the Bibles in the victim’s apartment. Thus, we conclude that the admission of

       the Bibles into evidence did not constitute error prejudicial to [the] defendant.”), cert.

       denied, 512 U.S. 1246, 129 L. Ed. 2d 883 (1994), and overruled on other grounds by

       State v. Buchanan, 1353 N.C. 332, 543 S.E.2d 823 (2001).

¶ 27          The evidence properly introduced at trial and the evidence that is not the

       subject of this appeal is sufficiently strong that the improperly admitted evidence, in

       light of its minimal emphasis, did not have a probable impact on the jury. Peter

       reported the incident to his mother almost immediately after it happened.                 His

       mother immediately took him to the police and then two hospitals for the proper

       examinations and interviews to be performed. Peter testified regarding Defendant

       sexually assaulting him, which was corroborated by Peter’s mother’s testimony

       regarding what Peter had told her Defendant had done. A recording of the forensic

       interview was published to the jury, which also corroborated Peter’s testimony

       regarding Defendant sexually assaulting him.7 Multiple exhibits were entered into

       evidence that corroborated the incident, including: State’s Exhibit P-26, photographs

       of the baby oil used; State’s Exhibit P-39, Defendant’s ripped shirt; and exhibits



              7 We note that, while some details of these accounts differed, both of Peter’s accounts

       of what happened were consistent in that they reflected “there was pornography involved;
       there was oral sex involved; there was an attempt at anal sex; and there was something about
       baby oil.”
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       related to the State’s DNA sample analysis.        Additionally, there was testimony

       regarding the DNA found in Peter’s underwear that showed there was a 1 in 13.9

       million chance of randomly selecting an unrelated Caucasian individual who could

       not be excluded from the DNA sample. Based on this evidence and the lack of an

       indication in the Record that the dildos were emphasized by the State, the error in

       admitting State’s Exhibit P-21 does not rise plain error.

                                          B. SBM Order

¶ 28         Defendant argues, and the State concedes, that the trial court erred in

       determining that Defendant was subject to automatic lifetime SBM. However, the

       State contends that the SBM order should be remanded to the trial court to make an

       SBM determination, while Defendant contends that the SBM order should be

       reversed.

¶ 29         Although Defendant did not object at the trial court level, the trial court’s error

       is still proper for our review pursuant to N.C.G.S. § 15A-1446(d)(18). N.C.G.S. § 15A-

       1446(d)(18) (2021) (“Errors based upon any of the following grounds, which are

       asserted to have occurred, may be the subject of appellate review even though no

       objection, exception or motion has been made in the trial division. . . . The sentence

       imposed was unauthorized at the time imposed, exceeded the maximum authorized

       by law, was illegally imposed, or is otherwise invalid as a matter of law.”). This

       approach is consistent with our prior holding in State v. Dye—that an error in an
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       SBM proceeding that violated statutory mandates was preserved by N.C.G.S. § 15A-

       1446(d)(18), where “the trial court erred by ordering [the defendant] to enroll in the

       SBM program for a period of thirty years without sufficient findings of fact that [the]

       [d]efendant required the highest possible level of supervision and monitoring[.]”

       State v. Dye, 254 N.C. App. 161, 167-68, 802 S.E.2d 737, 741 (2017). As this issue is

       preserved for our review, we turn to the merits.

¶ 30         The SBM statute has two initial steps:

                    (a) When an offender is convicted of a reportable conviction
                    as defined by [N.C.G.S. §] 14-208.6(4), during the
                    sentencing phase, the district attorney shall present to the
                    court any evidence that (i) the offender has been classified
                    as a sexually violent predator pursuant to [N.C.G.S. §] 14-
                    208.20, (ii) the offender is a recidivist, (iii) the conviction
                    offense was an aggravated offense, (iv) the conviction
                    offense was a violation of [N.C.G.S. §] 14-27.23 or [N.C.G.S.
                    §] 14-27.28, or (v) the offense involved the physical, mental,
                    or sexual abuse of a minor. The district attorney shall have
                    no discretion to withhold any evidence required to be
                    submitted to the court pursuant to this subsection.

                    ....

                    (b) After receipt of the evidence from the parties, the court
                    shall determine whether the offender’s conviction places
                    the offender in one of the categories described in [N.C.G.S.
                    §] 14-208.40(a), and if so, shall make a finding of fact of that
                    determination, specifying whether (i) the offender has been
                    classified as a sexually violent predator pursuant to
                    [N.C.G.S. §] 14-208.20, (ii) the offender is a recidivist, (iii)
                    the conviction offense was an aggravated offense, (iv) the
                    conviction offense was a violation of [N.C.G.S. §] 14-27.23
                    or [N.C.G.S. §] 14-27.28, or (v) the offense involved the
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                     physical, mental, or sexual abuse of a minor.

       N.C.G.S. § 14-208.40A(a)-(b) (2018).8 Here, after trial, Defendant, the State, and the

       trial court all incorrectly agreed that Defendant was convicted of a sexual offense

       with a child under N.C.G.S. § 14-27.28,9 and therefore was subject to mandatory SBM

       for life. In reality, Defendant was convicted of what was codified as N.C.G.S. § 14-

       27.4(a)(1) at the time of the offense and had been recodified to N.C.G.S. § 14-27.29 by

       the time of trial. Defendant was ineligible for automatic lifetime SBM because the

       trial court found the other grounds for automatic lifetime SBM were not present. See

       N.C.G.S. § 14-208.40A(c) (2018) (listing the grounds for automatic lifetime SBM

       enrollment as being “a sexually violent predator, [being] a recidivist, having

       committed an aggravated offense, or [being] convicted of [N.C.G.S. §] 14-27.23 or

       [N.C.G.S. §] 14-27.28”).

¶ 31          However, Defendant was eligible for the risk assessment track under N.C.G.S.

       § 14-208.40A(d) and (e):

                     (d) If the court finds that the offender committed an offense
                     that involved the physical, mental, or sexual abuse of a
                     minor, that the offense is not an aggravated offense or a
                     violation of [N.C.G.S. §] 14-27.23 [(rape of a child; adult
                     offender)] or [N.C.G.S. §] 14-27.28 [(first degree sexual


              8 We note that N.C.G.S. § 14-208.40A was amended with an effective date of 1
       December 2021. See N.C.G.S. § 14-208.40A (2021); 2021 S.L. 138 § 18(d). However, the
       amendment is not relevant for our resolution of the issues presented in this appeal.
              9 As discussed above, at the time of the offense, this statute was codified as N.C.G.S.

       § 14-27.4A.
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                    offense)] and the offender is not a recidivist, the court shall
                    order that the Division of Adult Correction do a risk
                    assessment of the offender.         The Division of Adult
                    Correction . . . shall have a minimum of 30 days, but not
                    more than 60 days, to complete the risk assessment of the
                    offender and report the results to the court.

                    (e) Upon receipt of a risk assessment from the Division of
                    Adult Correction . . . pursuant to subsection (d) of this
                    section, the court shall determine whether, based on the
                    Division of Adult Correction’s risk assessment, the offender
                    requires the highest possible level of supervision and
                    monitoring. If the court determines that the offender does
                    require the highest possible level of supervision and
                    monitoring, the court shall order the offender to enroll in a
                    satellite-based monitoring program for a period of time to
                    be specified by the court.

       N.C.G.S. § 14-208.40A(d)-(e) (2018). Under this statute, Defendant was entitled to a

       risk assessment that would provide the basis for the level of SBM imposed.

¶ 32         Here, there was no evidentiary hearing, which would have been required either

       way under our caselaw,10 and the parties and the trial court all improperly

       characterized Defendant’s conviction. Due to the failure of all parties to accurately

       characterize the offense Defendant was found guilty of, resulting in improper SBM

       sentencing, we vacate the SBM order without prejudice to the State’s ability to file a



             10 See Grady v. North Carolina, 575 U.S. 306, 310-311, 191 L. Ed. 2d 459, 462-63 (2015)

       (citations omitted) (“The reasonableness of a search depends on the totality of the
       circumstances, including the nature and purpose of the search and the extent to which the
       search intrudes upon reasonable privacy expectations. The North Carolina courts did not
       examine whether the State’s monitoring program is reasonable—when properly viewed as a
       search—and we will not do so in the first instance.”).
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       subsequent SBM application.

¶ 33         In State v. Greene, where the Defendant made a motion for involuntary

       dismissal under Rule 41(b) of our Rules of Civil Procedure, we held the State’s

       concession that it failed to carry its burden to conduct a Grady hearing meant that it

       necessarily conceded that the trial court should have granted Defendant’s motion to

       dismiss the SBM proceedings because “dismissal under Rule 41(b) is to be granted if

       the plaintiff has shown no right to relief[.]” State v. Greene, 255 N.C. App. 780, 783-

       84, 806 S.E.2d 343, 345 (2017) (citing Jones v. Nationwide Mut. Ins. Co., 42 N.C. App.

       43, 46-47, 255 S.E.2d 617, 619 (1979)). As a result, the proper remedy was to reverse

       because, at the trial court, “the [SBM] matter would have ended there.” Id. at 784,

       806 S.E.2d at 345.

¶ 34         Greene is not controlling because here there was no motion to dismiss under

       Rule 41(b), nor an objection made, and all parties were operating under an error of

       law. Greene distinguished the facts before it from Harrell v. W.B. Lloyd Constr. Co.,

       stating:

                    In Harrell, [] remand was appropriate because
                    “incompetent evidence ha[d] been erroneously considered
                    by the trial judge in his ruling on the sufficiency of [the]
                    plaintiff’s evidence.” The evidence was insufficient in light
                    of the improperly considered evidence. Therefore, it was
                    necessary to remand the case in order for the trial court to
                    consider the matter anew absent the erroneously admitted
                    evidence. In contrast, there has been no contention in this
                    case that the State’s evidence was improperly considered
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                    by the trial court.

       Id. at 783, 806 S.E.2d at 345 (citations omitted) (quoting Harrell v. W.B. Lloyd Constr.

       Co., 300 N.C. 353, 358, 266 S.E.2d 626, 630 (1980)). Here, like in Harrell, the trial

       court based its order on an error of law. As a result, like in Harrell, the appropriate

       remedy is to remand.

¶ 35         Furthermore, here we are guided by State v. Bursell, 258 N.C. App. 527, 533-

       34, 813 S.E.2d 463, 467-68 (2018) (“Bursell I”), rev’d in part and aff’d in part by State

       v. Bursell, 372 N.C. 196, 827 S.E.2d 302 (2019) (“Bursell II”).        In Bursell I, we

       distinguished Greene and vacated the SBM order entered there without prejudice to

       the State’s ability to file a subsequent SBM application. Id. at 533-34, 813 S.E.2d at

       467-68. In Bursell II, our Supreme Court affirmed our decision “to vacate the trial

       court’s SBM order without prejudice to the State’s ability to file another application

       for SBM.” Bursell II, 372 N.C. at 201, 827 S.E.2d at 306. Similarly, because Greene

       is distinct from the facts before us here, we may elect not to reverse the SBM order

       with prejudice to the State’s ability to file a subsequent SBM application. Here, like

       in Bursell I, we vacate the SBM order subjecting Defendant to lifetime SBM without

       prejudice to the State’s ability to file a subsequent SBM application. See Bursell I,

       258 N.C. App. at 534, 813 S.E.2d at 468; Bursell II, 372 N.C. at 201, 827 S.E.2d at

       306. Additionally, Defendant’s ineffective assistance of counsel claim on the basis of

       Defense Counsel’s failure to object to the imposition of lifetime SBM for failure to
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       conduct a Grady hearing is rendered moot, and we do not address it.

                         C. In Camera Review of Sealed Documents

¶ 36         Defendant argues that we should review the sealed documents previously

       reviewed in camera by the trial court for any evidence that is “favorable and material

       to his guilt or punishment[,]” and further remand the case for a new trial if it is

       determined he was denied access to such information at the trial court level.

                    A defendant who is charged with sexual abuse of a minor
                    has a constitutional right to have the records of the child
                    abuse agency that is charged with investigating cases of
                    suspected child abuse, as they pertain to the prosecuting
                    witness, turned over to the trial court for an in camera
                    review to determine whether the records contain
                    information favorable to the accused and material to guilt
                    or punishment.

       State v. McGill, 141 N.C. App. 98, 101, 539 S.E.2d 351, 355 (2000); see also State v.

       Hardy, 293 N.C. 105, 128, 235 S.E.2d 828, 842 (1977) (“[W]e hold that since

       realistically a defendant cannot know if a statement of a material State’s witness

       covering the matters testified to at trial would be material and favorable to his

       defense, Brady and Agurs require the judge to, at a minimum, order an in camera

       inspection and make appropriate findings of fact. As an additional measure, if the

       judge, after the in camera examination, rules against the defendant on his motion,

       the judge should order the sealed statement placed in the record for appellate

       review.”). Further,
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                    [i]f the trial court conducts an in camera inspection but
                    denies the defendant’s request for the evidence, the
                    evidence should be sealed and placed in the record for
                    appellate review. On appeal, this Court is required to
                    examine the sealed records to determine if they contain
                    information that is both favorable to the accused and
                    material to either his guilt or punishment. If the sealed
                    records contain evidence which is both favorable and
                    material, [the] defendant is constitutionally entitled to
                    disclosure of this evidence.

       McGill, 141 N.C. App. at 101-02, 539 S.E.2d at 355 (marks and citations omitted).

                    The duty to disclose encompasses impeachment evidence
                    as well as exculpatory evidence. Evidence is material if
                    there is a reasonable probability that, had the evidence
                    been disclosed to the defense, the result of the proceeding
                    would have been different.

                    A reasonable probability is a probability sufficient to
                    undermine confidence in the outcome. Therefore, in
                    determining whether the defendant’s lack of access to
                    particular evidence violated his right to due process, the
                    focus should be on the effect of the nondisclosure on the
                    outcome of the trial, not on the impact of the undisclosed
                    evidence on the defendant’s ability to prepare for trial.

       State v. Lynn, 157 N.C. App. 217, 220, 578 S.E.2d 628, 631 (2003) (marks and citations

       omitted).

¶ 37         Here, following an in camera review of DSS and school records relating to

       Peter, the trial court found “certain documents to be discoverable” while others were

       deemed to be “duplicative of the documents released, not admissible, not relevant, or

       otherwise not subject to discovery[.]”      Accordingly, the trial court sealed the

       documents.    Further, after a separate in camera review was conducted of the
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                                          Opinion of the Court



       personnel file of Officer Barlow, the trial court entered an order stating the trial court

       “conclude[d] that certain portions of [Officer Barlow’s personnel records] should be

       released for use in connection with [Officer Barlow’s] potential testimony in this case.

       The [c]ourt notes that other portions of these personnel records concerned an extra-

       marital affair which is not admissible for impeachment purposes under North

       Carolina law.”

¶ 38          Pursuant to McGill and Hardy, Defendant is entitled to appellate-level in

       camera review of documents not released previously by the trial court.

¶ 39          Our in camera review of the documents here reveals the order of the trial court

       related to Officer Barlow did not restrict Defendant’s access to evidence that was

       favorable or material. However, some portions of the DSS and school records that

       were not disclosed to Defendant were favorable to him. For Defendant to be entitled

       to a new trial where withheld documents were favorable, we must also determine

       that the withheld documents were material. See McGill, 141 N.C. App. at 101-02,

       539 S.E.2d at 355 (marks omitted) (“If the sealed records contain evidence which is

       both favorable and material, [the] defendant is constitutionally entitled to disclosure

       of this evidence.”).

¶ 40          “Evidence is material ‘if there is a reasonable probability that, had the evidence

       been disclosed to the defense, the result of the proceeding would have been different.’”

       Lynn, 157 N.C. App. at 220, 578 S.E.2d at 631 (quoting State v. Holadia, 149 N.C.
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       App. 248, 256-57, 561 S.E.2d 514, 520-21, disc. rev. denied, 355 N.C. 497, 562 S.E.2d

       432 (2002)).   “A reasonable probability is a probability sufficient to undermine

       confidence in the outcome.” Id. (marks omitted).

¶ 41         After a careful consideration of this case in its entirety, we hold that the

       withheld documents do not undermine our confidence in the outcome of Defendant’s

       trial and the withheld documents were therefore not material. The trial court did not

       err in not turning over the withheld documents.             In order to maintain the

       confidentiality of these documents, further analysis of this issue, including a

       discussion of those documents favorable to Defendant, are made in an order entered

       under seal. This order will remain under seal pending further consideration, if any,

       or release by our Supreme Court.

                                           CONCLUSION

¶ 42         The trial court did not err in admitting photographs of condoms found inside

       Defendant’s home. The trial court did, however, err in admitting photographs of

       dildos found in Defendant’s home, but this error did not rise to the level of plain error.

       Additionally, we vacate the SBM order and remand without prejudice to the State’s

       ability to file a subsequent SBM application. Finally, after a comprehensive review

       of the sealed documents from the trial court’s in camera review, we conclude the trial

       court did not err as there was not any material evidence that was not provided to

       Defendant.
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                         Opinion of the Court



NO ERROR IN PART; VACATED AND REMANDED IN PART.

Judge ZACHARY concurs.

Judge ARROWOOD concurs in result only.
